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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CHOICE HOTELS INTERNATIONAL, §
INC.,                          §
                               §
                   Plaintiff,  §
                               § Civil Action No. 3:12-CV-0548-D
VS.                            §
                               §
GOLDMARK HOSPITALITY, LLC,     §
et al.,                        §
                               §
                   Defendants. §

                               MEMORANDUM OPINION
                                   AND ORDER

       In this action by plaintiff Choice Hotels International, Inc. (“Choice Hotels”) against

defendant Goldmark Hospitality, LLC (“Goldmark”) for trademark infringement and false

designation of origin under the Lanham Act, 15 U.S.C. § 1051 et seq., common law

trademark infringement under Texas law, and common law unfair competition under Texas

law, Choice Hotels moves for summary judgment, or, alternatively, for partial summary

judgment against Goldmark. For the reasons that follow, the court grants summary judgment

as to liability on all claims but denies summary judgment as to remedies.

                                              I

       Choice Hotels franchises hotels.1 It offers hotel and motel services under brand names


       1
        In deciding this motion, the court views the evidence in the light most favorable to
Goldmark as the summary judgment nonmovant and draws all reasonable inferences in its
favor. See, e.g., Owens v. Mercedes-Benz USA, LLC, 541 F.Supp.2d 869, 870 n.1 (N.D. Tex.
2008) (Fitzwater, C.J.) (citing U.S. Bank Nat’l Ass’n v. Safeguard Ins. Co., 422 F.Supp.2d
698, 701 n.2 (N.D. Tex. 2006) (Fitzwater, J.)).
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such as Quality, Quality Inn, Quality Suites, and Quality Inn & Suites. It also owns several

registered trademarks, including U.S. Registration No. 3,053,888 (the “‘888 Registration”)

and No. 2,732,875 (the “‘875 Registration”) (collectively, the “Quality Marks”). The Quality

Marks are registered for use in the hotel and motel services industry.

       In 2007 Choice Hotels entered into a franchise agreement (“Franchise Agreement”)

with Kroopa Investment, LLC (“Kroopa”), under which Kroopa operated a Quality Suites

brand hotel at 13636 Goldmark Drive in Dallas (the “Goldmark Hotel Property”). In early

2010 Kroopa filed for bankruptcy but continued to operate the hotel as a debtor-in-

possession. Later that year, Choice Hotels notified Kroopa that it had defaulted under the

Franchise Agreement and that, if the default remained uncured, it would terminate the

Franchise Agreement. Kroopa’s reorganization plan was confirmed in 2011, but Kroopa fell

into default again shortly thereafter. When after several more months Kroopa failed to cure

the default, Choice Hotels terminated the Franchise Agreement, extinguishing Kroopa’s right

to use the Quality Marks.

       Around the same time, defendant Goldmark, as the beneficiary of a deed of trust on

the Goldmark Hotel Property, commenced foreclosure proceedings. Goldmark secured

ownership of the Goldmark Hotel Property by foreclosure deed dated July 5, 2011. Choice

Hotels notified Kroopa by a September 27, 2011 letter that it had learned that the Goldmark

Hotel Property was continuing to display several Quality Suites marks after the termination

of the Franchise Agreement. Choice Hotels requested that Kroopa respond no later than

October 11, 2011 by providing written and photographic evidence that the marks had been

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removed. On October 11, 2011 Goldmark’s counsel responded to Choice Hotels:

              The owners of the hotel are no longer operating as a Quality
              Suites. They are no[w] operating as an independent hotel called
              the Amerigold Suites focusing on extended stay guests. They
              have changed their online presence to Amerigold Suites and
              have covered the signage with temporary signs and are currently
              waiting for permanent sign permits to be approved.
              Unfortunately, I do not have pictures at this time to forward you,
              but have requested them and will forward them to you upon
              receipt. Furthermore, they are no longer using any supplies or
              other items with the Quality Suites logo.

D. App. 12 (alterations added).

       After Goldmark’s counsel sent this letter to Choice Hotels, two signs bearing Quality

Suites marks remained on the Goldmark Hotel Property. The first was a large overhead sign

on the top of a tall tower that was visible to traffic from the main roadway (the “Tower

Sign”); the second was a much smaller sign affixed to a short pole that was visible to traffic

pulling up to and through the hotel’s driveway (the “Driveway Sign”). One side of the

Driveway Sign—the side facing traffic on Goldmark Drive—was at one point covered with

a temporary banner bearing the name Amerigold Suites. The other side of the Driveway

Sign, bearing the Quality Suites mark, remained uncovered for some time, but was eventually

painted over. The Tower Sign was not covered or painted over at any point before this

lawsuit was filed.2


       2
         Although these signs remained on the Goldmark Hotel Property, Goldmark appears
to have undertaken some effort to re-brand the hotel as an Amerigold Suites. The signage
at the front desk of the hotel was changed to remove any Quality Suites marks; business
cards at the front desk were replaced with cards bearing the Amerigold Suites name and logo;
Goldmark advertised the property in a local apartment guide as an Amerigold Suites; the

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       Sometime during the months following Choice Hotels’ receipt of the October 11, 2011

letter, Choice Hotels learned that the signage was still not covered, prompting Choice Hotels

to contact Goldmark’s counsel. In a letter dated February 2, 2012, Goldmark’s counsel

acknowledged that the Tower Sign remained uncovered but asserted that removing or

covering it was cost-prohibitive:

              As stated, my client is happy to provide access to the property
              to allow Choice [Hotels] to remove the signs (“Quality Suites”)
              from the property. The property was acquired by the current
              owner out of foreclosure and they have not operated it as
              Quality Suites nor have they advertised as such. . . . To arrange
              to have a crane and sign company remove the sign on the short
              notice you allowed, is cost prohibitive at this stage. Although
              the current owner would like to have the signs removed, they do
              not have the necessary funds to do so at this time which is why
              they have covered the front signs with their own temporary
              signs. Please let me know the decisions of your client.

P. App. 199 (alteration added).3 On February 22, 2012 Choice Hotels filed this lawsuit,


breakfast service, which had been a Quality Suites service, was terminated; the telephone at
the hotel was answered by staff describing the hotel as an Amerigold Suites; and Goldmark
ceased using the Quality Suites online reservation system.
       3
         This letter is attached as part of Choice Hotels’ amended appendix filed in support
of its motion for summary judgment. Choice Hotels’ original appendix was filed
concurrently with its motion on September 13, 2013. On January 29, 2014 Choice Hotels
filed a notice of errata regarding the original appendix. In its notice, Choice Hotels
explained that several of the pages in the original appendix were mistakenly left blank and
that it had only recently noticed the error. It attached an amended appendix with corrected
pages. On February 5, 2014 Goldmark filed an objection to the filing of the amended
appendix, arguing that the filing was untimely and should be stricken on the ground that
Choice Hotels had not first obtained leave to file the document.
        Assuming arguendo that leave of court was necessary, the court treats Choice Hotels’
notice of errata as a motion for leave to file an amended appendix and grants the motion.
It also overrules Goldmark’s February 5, 2014 objection. Although in other circumstances

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alleging claims for trademark infringement under 15 U.S.C. § 1114, false designation of

origin under 15 U.S.C. § 1125(a), common law trademark infringement under Texas law, and

common law unfair competition under Texas law. It moves for summary judgment, or, in

the alternative, for partial summary judgment on its claims against Goldmark. Goldmark

opposes the motion.

                                             II

       Because Choice Hotels will have the burden of proof at trial on its claims, to obtain

summary judgment it “must establish ‘beyond peradventure all of the essential elements of

the claim[s.]’” Bank One, Tex., N.A. v. Prudential Ins. Co. of Am., 878 F. Supp. 943, 962

(N.D. Tex. 1995) (Fitzwater, J.) (quoting Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th

Cir. 1986)). This means that Choice Hotels must demonstrate that there are no genuine and

material fact disputes and that it is entitled to summary judgment as a matter of law. See,

e.g., Martin v. Alamo Cmty. Coll. Dist., 353 F.3d 409, 412 (5th Cir. 2003). “The court has

noted that the ‘beyond peradventure’ standard is ‘heavy.’” Carolina Cas. Ins. Co. v. Sowell,


the court would permit Goldmark as the nonmovant to file supplemental briefing to address
the amended appendix, the court does not do so here because Goldmark filed its response to
the motion for summary judgment before Choice Hotels filed its notice of errata, and in
doing so Goldmark did not raise any challenge to Choice Hotels’ original appendix. The
court therefore finds no basis in the record to conclude that the inclusion of blank pages in
Choice Hotels’ original appendix interfered in any way with Goldmark’s ability to respond
to the summary judgment motion. In fact, one of the exhibits included in Choice Hotels’
amended appendix—which was blank in its original appendix—was included by Goldmark
in its appendix, which was filed in conjunction with its summary judgment response brief.
Compare D. App. 48-50, with P. App. 219-21. Accordingly, all of the court’s citations to “P.
App.” in this memorandum opinion and order refer to Choice Hotels’ January 29, 2014
amended appendix.

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603 F.Supp.2d 914, 923-24 (N.D. Tex. 2009) (Fitzwater, C.J.) (quoting Cont’l Cas. Co. v.

St. Paul Fire & Marine Ins. Co., 2007 WL 2403656, at *10 (N.D. Tex. Aug. 23, 2007)

(Fitzwater, J.)). “An issue of fact is genuine if the evidence supporting its resolution in favor

of the party opposing summary judgment, together with any inference in that party’s favor

that the evidence allows, would be sufficient to support a verdict in the party’s favor.” Bank

One, 878 F. Supp. at 962 (citing Hilton v. Sw. Bell Tel. Co., 936 F.2d 823, 827 (5th Cir.

1991) (per curiam), cert. denied, 502 U.S. 1048 (1992)). “An issue of fact is not genuine if

no reasonable trier of fact could find in favor of the nonmovant.” Id. (citing Lavespere v.

Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 178 (5th Cir. 1990), abrogated by Little

v. Liquid Air. Corp., 37 F.3d 1069, 1075 n.14 (5th Cir. 1994)).

                                               III

       Choice Hotels moves for summary judgment on its claim for trademark infringement

under 15 U.S.C. § 1114, contending that it has established each essential element of the

claim. Goldmark responds that there are genuine issues of material fact regarding whether

Goldmark used Choice Hotels’ marks in commerce and whether there is a likelihood of

confusion surrounding the marks in question.

                                               A

       To succeed on its trademark infringement claim, Choice Hotels must first show

ownership of a legally protectable mark, and it must then establish infringement of the mark.

TGI Friday’s, Inc. v. Great Nw. Rests., Inc., 652 F.Supp.2d 763, 767 (N.D. Tex. 2009)

(Fitzwater, C.J.) (citing Am. Rice, Inc. v. Producers Rice Mill, Inc., 518 F.3d 321, 329 (5th

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Cir. 2008)). Under the Lanham Act, infringement exists if a person

              uses (1) any reproduction, counterfeit, copy, or colorable
              imitation of a mark; (2) without the registrant’s consent; (3) in
              commerce; (4) in connection with the sale, offering for sale,
              distribution, or advertising of any goods; (5) where such use is
              likely to cause confusion, or to cause mistake or to deceive.

Id. (quoting Bos. Prof’l Hockey Ass’n v. Dall. Cap & Emblem Mfg., 510 F.2d 1004, 1009-10

(5th Cir.1975)) (citing 15 U.S.C. § 1114) (brackets omitted).

       “The term ‘use in commerce’ means the bona fide use of a mark in the ordinary course

of trade[.]” 15 U.S.C. § 1127. A mark is used in commerce “when it is used or displayed

in the sale or advertising of services and the services are rendered in commerce.” Id.; see

also Choice Hotels Int’l, Inc. v. Patel, 940 F.Supp.2d 532, 539 (S.D. Tex. 2013). “A finding

of ‘likelihood of confusion’ requires ‘a probability of confusion’ rather than a mere

possibility.” John Crane Prod. Solutions, Inc. v. R2R & D, LLC, 2012 WL 1571080, at *2

(N.D. Tex. May 4, 2012) (Fitzwater, C.J.) (citing Xtreme Lashes, LLC v. Xtended Beauty,

Inc., 576 F.3d 221, 226 (5th Cir. 2009)). “The following factors are used to determine the

likelihood of confusion: (1) the strength of the plaintiff’s trademark, (2) mark similarity, (3)

product [or service] similarity, (4) outlet and purchaser identity, (5) advertising media

similarity, (6) defendant’s intent, (7) actual confusion, and (8) care exercised by potential

purchasers.” Id. (citing Am. Rice, 518 F.3d at 329). “The digits are a flexible and

nonexhaustive list. They do not apply mechanically to every case and can serve only as

guides, not as an exact calculus.” Paulsson Geophysical Servs., Inc. v. Sigmar, 529 F.3d 303,

311 (5th Cir. 2008) (quoting Scott Fetzer Co. v. House of Vacuums Inc., 381 F.3d 477, 485

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(5th Cir. 2004)).

                                              B

                                              1

       It is undisputed that Choice Hotels owns a legally protectable family of marks,

including the ‘888 Registration and the ‘875 Registration. The registration of a trademark

with the U.S. Patent and Trademark Office constitutes prima facie evidence of the validity

of the mark and the registrant’s exclusive right to use the mark for the services specified in

the registration. See Elvis Presley Enters., Inc. v. Capece, 141 F.3d 188, 194 (5th Cir. 1998);

15 U.S.C. § 1115(a). Choice Hotels has produced evidence of its registrations for each of

its Quality Marks.4 See P. App. 2-4, 18-48. And Goldmark concedes that Choice Hotels

owns the Quality Marks. See Answer ¶¶ 54, 66.

                                              2

       The court next considers whether Choice Hotels has established beyond peradventure

that Goldmark “used” Choice Hotels’ marks in commerce. Goldmark argues that Choice

Hotels has not presented any evidence that Goldmark actually used the marks because the

evidence Choice Hotels has adduced merely shows that Goldmark failed to take down

signage while it repurposed the Goldmark Hotel Property, which it posits is of itself




       4
       The court grants Choice Hotels’ request to take judicial notice of the registrations
under Fed. R. Evid. 201. See, e.g., Super-Krete Int’l, Inc. v. Sadleir, 712 F.Supp.2d 1023,
1029 n.1 (C.D. Cal. 2010) (taking judicial notice of trademark registrations).

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insufficient to prove that Goldmark used the mark.5 Goldmark also argues that it did not use

the marks because it “actively tried to disassociate itself” from Choice Hotels by re-branding

the hotel as an Amerigold Suites and positioning itself as a “higher-quality, extended-stay

residence location as opposed to the one-night ‘cheapy’-style hotel” operated by Kroopa,

Choice Hotels’ former franchisee. D. Br. 12. Choice Hotels responds that Goldmark’s

argument is flawed in two respects: it is flawed factually because Goldmark’s own evidence

and admissions reflect that Goldmark was operating a hotel business during the relevant

period, and it is flawed legally because, even if there was some period of time between

Goldmark’s foreclosure on the Goldmark Hotel Property and Goldmark’s commencement

of the operation of the hotel, Goldmark’s continued display of the Quality Marks constituted

use under the Lanham Act.

       The court holds that Choice Hotels has established beyond peradventure that

Goldmark used Choice Hotels’ marks in commerce. Goldmark’s assertion that Choice

Hotels has not presented any evidence that Goldmark used the marks in commerce is not

supported by the record. For example, Choice Hotels has introduced the October 11, 2011

letter from Goldmark’s counsel stating that “[the owners of the Goldmark Hotel Property are

now] operating as an independent hotel called the Amerigold Suites.” P. App. 189. This

evidence establishes that, even during the period when the hotel was being repurposed,

Goldmark was operating the Goldmark Hotel Property as a hotel. The summary judgment


       5
        The court understands Goldmark’s argument to be about the application of the word
“use” in 15 U.S.C. § 1114, not the phrase “in commerce.”

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record also includes photographs of the signs that bear the Quality Marks, and Goldmark

concedes that these signs are located on the Goldmark Hotel Property and are Choice Hotels’

exact marks. See, e.g., D. App. 47. Even if there was some period of time between the

foreclosure and Goldmark’s commencement of the operation of the Amerigold Suites, it is

clear from the summary judgment record that the marks remained either partially or

completely uncovered and visible to the public during that time. Contrary to Goldmark’s

unsubstantiated assertion, this evidence is sufficient to establish use under the Lanham Act.

See 15 U.S.C. § 1127 (“[A] mark shall be deemed to be in use in commerce . . . when it is

used or displayed in the sale or advertising of services and the services are rendered in

commerce[.]”); Best W. Int’l v. Prime Tech Dev., L.L.C., 2007 U.S. Dist. LEXIS 29285, at

*24 (C.D. Ill. Apr. 20, 2007) (“Here, [defendant’s] display of [plaintiff’s] signs, even before

the hotel was open for business, could be fairly construed as advertising.”); see also 4 J.

Thomas McCarthy, McCarthy on Trademarks and Unfair Competition, § 25:26 (4th ed.

2013) (“[M]erely advertising an infringing mark itself is an act of infringement, apart from

any manufacturing or sale.”). Whether Goldmark intended to “dissociate itself” from Choice

Hotels and the prior franchisee during the period is irrelevant for purposes of determining

whether the marks were used. See Choice Hotels, 940 F.Supp.2d at 539 (“Defendants argue

that [they] did not wish or intend to use the marks, but the use element does not depend on

intent.”). And even if Goldmark’s intent were relevant to this element, Goldmark does not

offer any specific citations to the record to support its factual assertions regarding the steps

it allegedly took to dissociate itself from the Quality Marks. Goldmark has therefore failed

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to defeat Choice Hotels’ showing that it is entitled to summary judgment on this element.

See Fed. R. Civ. P. 56(e)(3) (“If a party fails to properly support an assertion of fact or fails

to properly address another party’s assertion of fact as required by Rule 56(c), the court may

. . . grant summary judgment if the motion and supporting materials—including the facts

considered undisputed—show that the movant is entitled to it[.]”).

                                               C

       The court now turns to whether Choice Hotels has established a likelihood of

confusion.

                                               1

       Goldmark contends that there is a genuine issue of material fact as to this element

because several digits of confusion weigh against a finding of likelihood of confusion.

Choice Hotels replies that, because it is undisputed that Goldmark used Choice Hotels’ exact

marks, not merely similar marks, the court should not analyze the digits of confusion. It

argues in the alternative that, if the court conducts a digits-of-confusion analysis, the

undisputed facts weigh in Choice Hotels’ favor such that a reasonable trier of fact would

have to find a likelihood of confusion.

                                               2

       Assuming arguendo that a digits-of-confusion analysis is necessary when the marks

are identical,6 the court holds that Choice Hotels has established beyond peradventure that


       6
        Although there is considerable support for the view that a digits-of-confusion analysis
is unnecessary when the defendant is using the plaintiff’s exact marks, the Fifth Circuit has

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there is a likelihood of confusion. Goldmark neither disputes the strength of Choice Hotels’

marks nor the fact that they have been registered.7 Nor does Goldmark dispute that the marks

at issue are identical to Choice Hotels’ marks, conceding that the marks are Choice Hotels’




not explicitly recognized this rule. In Rolex Watch USA, Inc. v. Meece, 158 F.3d 816 (5th
Cir. 1998), the Fifth Circuit held that “[t]he district court erred by failing to consider and
weigh all of the digits of confusion.” Id. at 831. In Paulsson the defendant seized on this
language, arguing that the district court erred by not analyzing each of the eight digits.
Paulsson, 529 F.3d at 310. The Fifth Circuit rejected this argument, noting that the Rolex
Watch holding does not apply to cases where the defendant uses the exact mark. Id. at 310-
11. Although Choice Hotels’ position is consistent with Paulsson, that decision does not
establish that a digits-of-confusion analysis is unnecessary when the marks are identical.
Rather, Paulsson holds that a district court does not err when it fails to consider each and
every digit of confusion when the marks are identical. It does not establish the rule that,
when the marks are identical, a district court can find that there is a likelihood of confusion
without considering any of the digits. Some courts have suggested that Paulsson should be
read more broadly in cases where the marks are identical. See, e.g., Choice Hotels Int’l, Inc.
v. Bhakta, 2013 WL 1403526, at *3 (S.D. Tex. Apr. 5, 2013) (“The likelihood-of-confusion
test is met as a matter of law when the defendants are using a plaintiff’s exact marks as
opposed to merely similar marks.”) (citing Paulsson); Coach Inc. v. Sassy Couture, 2012 WL
162366, at *5 (W.D. Tex. Jan. 19, 2012) (citing Paulsson and noting that “analysis of the
digits of confusion is ‘inapplicable to the facts of [a] case where the [Defendant] used the
exact same mark’”); cf. Microsoft Corp. v. Software Wholesale Club, Inc., 129 F.Supp.2d
995, 1007 n.11 (S.D. Tex. 2000) (“Generally, a likelihood of confusion analysis involves a
factual inquiry into several different factors. However, in the case of a counterfeit mark,
likelihood of confusion is clear.”) (citation omitted). But in the present case, because even
under a digits-of-confusion analysis there is no genuine issue of material fact as to likelihood
of confusion, the court need not decide whether this analysis is necessary where the marks
are identical. See, e.g., Microsoft Corp. v. Grey Computer, 910 F. Supp. 1077, 1088 (D. Md.
1995) (“Where, as here, the goods distributed by Defendants are intentional copies and
virtually identical to the trademark owner’s goods, likelihood of confusion may be
established at the summary judgment stage.”).
       7
       The ‘875 Registration and the ‘888 Registration, as well as other registrations in the
Quality Marks, have become incontestable under 15 U.S.C. § 1065.

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exact marks.8 Thus the first two digits of confusion weigh strongly in favor of a likelihood

of confusion.

                                                3

       The next factor is the similarity of products or services provided by Goldmark and

Choice Hotels. Without specific citations to the record, Goldmark asserts that “the evidence

put forth by Defendant establishes that Defendant has put in significant effort to distinguish

its services from those of Plaintiff and to establish itself as a higher-quality extended-stay

residence location as opposed to the one-night ‘cheapy’-style hotel operated under Plaintiff’s

flag.” D. Resp. 14. Even assuming arguendo that Goldmark positioned itself as a higher-

quality, extended-stay residence compared to the hotel operated by Kroopa under the

Franchise Agreement,9 it is undisputed that it still held itself out as a hotel. See, e.g., D. App.


       8
        Goldmark asserts that Choice Hotels “caused” the marks to be placed on the
Goldmark Hotel Property in the first place, apparently suggesting that Goldmark is not liable
for trademark infringement because Choice Hotels entered into a franchise agreement with
Kroopa and Goldmark never agreed to such an arrangement. See D. Resp. 14. This
argument lacks force. Goldmark instituted foreclosure proceedings on the Goldmark Hotel
Property and failed to remove or cover the marks in question for months after assuming
ownership of the Goldmark Hotel Property. Although Goldmark was not a party to the
Franchise Agreement, Goldmark assumed responsibility for complying with applicable
trademark laws when it foreclosed on the Goldmark Hotel Property. That in doing so
Goldmark would be required to pay for the removal of the marks is simply a cost of doing
business after foreclosing on the Goldmark Hotel Property and choosing to operate it as a
hotel.
       9
        The only record citations found anywhere in Goldmark’s response brief on these
factors are located in the section entitled ,“Factual Background.” Most of these citations are
to statements in the affidavit of Timothy Barton (“Barton”), Goldmark’s managing member
and records custodian.
        By separate motion, Choice Hotels moves on various grounds to strike certain

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12 (“[The current owners of the Goldmark Hotel Property are now] operating as an

independent hotel called the Amerigold Suites focusing on extended stay guests.”); P. App.

213, 218. And although there is evidence to support Goldmark’s assertion that it attempted

to attract customers who would stay for longer periods of time than the typical one- or two-

night guest at a hotel, it is also undisputed that Goldmark advertised itself to short-term

guests as well. See, e.g., D. App. 33 (advertisement stating that “[t]his is a perfect place for

people looking for a short or long-term stay for one great monthly price.”). As for

Goldmark’s characterization of Choice Hotels, it offers no evidence about the quality of

Choice Hotels’ services to support its claim that the services provided by Goldmark are

dissimilar to those provided by Choice Hotels. Thus the court concludes that, despite some

differences in the services provided by Goldmark and those provided by Kroopa under the

Franchise Agreement, there is still a significant degree of similarity between the services

provided by Goldmark and Choice Hotels, because the undisputed evidence establishes that

both entities are in the business of hotel operations. Thus the third digit of confusion weighs




statements made in Barton’s affidavit. Goldmark has not responded to the motion to strike.
The court grants the motion in part and denies it in part as moot. The court grants the motion
as to Barton’s statements that the Quality Marks “carried very little value” and that “there
existed no likelihood of brand confusion” because these statements are improper legal
conclusions under Fed. R. Evid. 702. See, e.g., C.P. Interests, Inc. v. Ca. Pools, Inc., 238
F.3d 690, 697 (5th Cir. 2001) (citing Owen v. Kerr McGee Corp., 698 F.2d 236, 240 (5th Cir.
1983)). Choice Hotels’ remaining objections are overruled as moot because, even if the court
considers the statements or photographs to which Choice Hotels objects, they do not create
a genuine issue of material fact that precludes granting of summary judgment as to liability.

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in favor of a likelihood of confusion.10

                                              4

       The fourth factor is outlet and purchaser identity. Again without offering specific

citations to the record, Goldmark contends that it services a different market from Choice

Hotels because it focuses on an “upper-scale extended-stay market” while Choice Hotels

services a “quick-stay market,” and because it uses a different online reservation system from

Choice Hotels’ online reservation system. D. Resp. 14-15. Choice Hotels replies that

Goldmark has failed to offer competent summary judgment evidence to support these

assertions.

       Although this factor is analytically distinct from the third factor discussed above, the

arguments and evidence presented by the parties overlap with those presented regarding

product or service similarity. Again assuming arguendo that Goldmark’s clientele is

somewhat different from Choice Hotels’ clientele and that Goldmark uses a different online

reservation system, it is undisputed that both entities operate hotels. Furthermore, Goldmark

does not offer any evidence about how many of its customers used its online reservation

system.


       10
         This factor is to be considered on a spectrum, because “[t]he greater the similarity
between the products and services, the greater the likelihood of confusion.” Exxon Corp. v.
Tex. Motor Exch. of Hous., Inc., 628 F.2d 500, 505 (5th Cir. 1980). The services rendered
by Choice Hotels and Goldmark need not be identical in order to be deemed similar for
purposes of applying the digits-of-confusion analysis. See Beef/Eater Rests., Inc. v. James
Burrough Ltd., 398 F.2d 637, 639 (5th Cir. 1968) (noting that “parties need not be in
competition and that the goods or services need not be identical” to support finding of
likelihood of confusion).

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       Goldmark also relies on Barton’s affidavit, in which he avers:

              The towering sign was itself not visible to drive-up traffic [from
              the highway]. . . . As for the smaller adjacent streets, because
              the sign is so high, it is almost impossible to see from the streets
              below[.] . . . Again, to the extent that it is visible, it is quickly
              concealed by trees to moving traffic.

Barton Aff. 5 (alterations added).11 This statement does not create a genuine issue of material

fact as to whether the signs were visible, because it does not deny the fact that the Tower

Sign is visible to the public; it merely states that it is visible only for a short time. Choice

Hotels disputes this statement in Barton’s affidavit, contending that the sign is not concealed

by trees and that it is easily visible from the surrounding roadways. It points to photographs

of the sign in which the trees do not obstruct the sign from view. See, e.g., P. App. 196.

Viewing the evidence, however, in the light most favorable to Goldmark as the nonmovant

and drawing all reasonable inferences in its favor, the court assumes that the Tower Sign

“was only briefly visible from the street before it is concealed by trees.” Barton Aff. 4.

       Because it is undisputed that the Tower Sign and the Driveway Sign remained visible

to traffic on public roadways, the fact that some of Goldmark’s customers may have used its

online reservation system before observing the signs does not create a genuine issue of

material fact concerning the likelihood of confusion.




       11
         The court is citing the Barton affidavit in this manner because Goldmark attached
the affidavit to its response brief rather than include it in its appendix. Although doing so
was procedurally improper, the court will consider the affidavit because doing so has not
interfered with the decisional process of the court.

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                                             5

       The fifth factor is the similarity of advertising media used. Goldmark maintains that

this factor militates against a finding of likelihood of confusion because Goldmark never

advertised itself as associated with Choice Hotels; Goldmark and Choice Hotels have

different websites, online reservation systems, and different Internet domain names; and

Goldmark removed some of the signage bearing the Quality Marks after foreclosing on the

Goldmark Hotel Property. Choice Hotels replies that it is undisputed that the Tower Sign

and the Driveway Sign on the Goldmark Hotel Property remained exposed to the public for

months after the foreclosure and that such signage is clearly a form of advertising.

       Neither party has presented evidence sufficient to compare the parties’ overall

advertising approaches, but it is undisputed that both the Tower Sign and Driveway Sign

remained visible to the public for months following the foreclosure. Goldmark has adduced

evidence that one side of the Driveway Sign was covered with a temporary banner bearing

the Amerigold Suites name and logo and then eventually painted over, but it concedes that

the other side of the sign—which was exposed to customers who drove through the

Goldmark Hotel Property’s driveway—remained uncovered. He also concedes that the

Tower Sign was not covered or painted over at any point before Choice Hotels filed this

lawsuit. The court concludes that the fifth factor weighs in favor of a finding of likelihood

of confusion.




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                                             6

       The sixth factor is Goldmark’s intent. Goldmark argues that it was always its intent

to distance itself from the Quality Marks and the reputation of the Goldmark Hotel Property

that was developed under Kroopa’s ownership. It asserts that evidence of its intent “is

indicated by its removal or concealment of each and every feasible indicator of the Choice

marks.” D. Resp. 15. But the undisputed summary judgment evidence shows that both the

Driveway Sign and Tower Sign remained completely uncovered until after Goldmark sent

its September 27, 2011 cease-and-desist letter to the General Manager of the Goldmark Hotel

Property, despite the fact that Goldmark acquired ownership of the Goldmark Hotel Property

by foreclosure deed dated July 5, 2011; that Goldmark’s counsel misrepresented to Choice

Hotels in the October 11, 2011 letter that both signs were covered by temporary banners

when in fact at least the Tower Sign remained uncovered; that although one side of the

Driveway Sign was covered by a temporary banner, the other side remained uncovered until

it was eventually painted over; and that the Tower Sign remained completely uncovered and

was not painted over at any time before the filing of this lawsuit in February 2012. The fact

that covering or removing the signs would be costly tends to support Goldmark’s theory that

it retained the signs merely because they would be expensive to remove rather than because

it intended to derive a benefit from the reputation of Choice Hotels. But the fact that

removing the signs would be costly does not excuse trademark infringement, and the

undisputed evidence establishes that signs bearing Choice Hotels’ exact marks remained on

the Goldmark Hotel Property for months following foreclosure, and after Choice Hotels

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repeatedly informed Goldmark of its trademark claim. The court concludes that the sixth

factor does not favor either party.

                                             7

       The seventh factor is actual confusion. Goldmark maintains that Choice Hotels has

not adduced any evidence of actual confusion. Choice Hotels does not present evidence of

its own regarding this factor, but it contends that evidence produced by Goldmark supports

an inference of actual confusion. Goldmark has introduced evidence that there were many

reported instances of criminal conduct occurring on the Goldmark Hotel Property while

Kroopa operated the property. See, e.g., D. App. 154. It presents this evidence, in part, to

show that Goldmark had a vested interest in distancing itself from Choice Hotels’ family of

marks. Citing Barton’s affidavit, Goldmark states in its summary judgment response that,

“[o]nce Goldmark took over the property in July of 2011 it was the increasingly rare

prostitute or drug dealer that formerly frequented the Quality Suites that returned to the

Amerigold Suites facility to continue their illegal business practices.” D. Resp. 7.12 Choice


       12
         In support of its response, Goldmark offers hundreds of pages of police reports
regarding alleged instances of criminal activity that occurred on the Goldmark Hotel Property
during Kroopa’s ownership. See D. App. 67-420. Goldmark requests that the court take
judicial notice of these reports under Fed. R. Evid. 201. It argues that judicial notice is
appropriate because the authenticity of the reports can be openly, clearly, and easily
ascertained. The court declines to take judicial notice of these documents.
       Goldmark downloaded the records from a website, which includes the following
disclaimer, which is prominently displayed on the first page:

              This information reflects crimes as reported to the Dallas Police
              Department as of the current date. Crime classifications are
              based upon preliminary information supplied to the Dallas

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Hotels argues that this is an admission by Goldmark that certain customers—an alleged

group of prostitutes and drug dealers—were actually confused, because they returned

thinking that the Goldmark Hotel Property was still a Quality Suites hotel.

       The court concludes that this factor does not weigh strongly in favor of either party.

Although Choice Hotels’ interpretation of Goldmark’s argument is plausible, it does not

establish that the customers returned because they believed the Goldmark Hotel Property was

a Quality Suites; they may have returned simply because they were familiar with the

location.13 Neither party has offered evidence about the number of customers who purchased

lodging at the Goldmark Hotel Property before and after the foreclosure, or evidence about

the reasons the customers chose to stay there. Accordingly, this factor does not figure

prominently in its digits-of-confusion analysis. Cf. Exxon Corp. v. Tex. Motor Exch. of

Hous., Inc., 628 F.2d 500, 506 (5th Cir. 1980) (evidence of actual confusion is unnecessary


              Police Department by the reporting parties and the preliminary
              classifications may be changed at a later date based upon
              additional investigation.     Therefore, the Dallas Police
              Department does not guarantee (either expressed or implied) the
              accuracy, completeness, timeliness, or correct sequencing of the
              information contained herein and the information should not be
              used for comparison purposes over time.

Dallas Police Departme nt, D i s c l a i m e r a n d R e s t r i c t i o n o n U s e ,
http://policereports.dallaspolice.net (last visited Feb. 19, 2014). In light of this explicit
disclaimer of the accuracy or completeness of the police reports downloaded from the
website, the court denies Goldmark’s request to take judicial notice.
       13
         From a public relations standpoint, Choice Hotels might prefer this explanation over
the conclusion that Quality Suites hotels are a preferred choice of prostitutes and drug
dealers.

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for finding of likelihood of confusion).

                                              8

       The eighth factor is the degree of care exercised by potential purchasers. Neither

party offers competent summary judgment evidence regarding this factor. Goldmark

suggests that its customers were willing to pay a higher price for a higher-quality, extended-

stay residence, but it does not offer proof about the prices it charged its customers or the

prices charged by Choice Hotels.14 The court concludes that this factor is inapplicable to the

present facts. See Choice Hotels, 940 F.Supp.2d at 541 (factor inapplicable to facts where

neither party provided evidence regarding factor).

                                              9

       In addition to analyzing the digits of confusion, Goldmark urges the court to consider

the overall context in assessing the likelihood of confusion. The digits of confusion

discussed above are non-exhaustive, “[n]o digit is dispositive, and the digits may weigh

differently from case to case, ‘depending on the particular facts and circumstances

involved.’” Xtreme Lashes, 576 F.3d at 227 (quoting Marathon Mfg. Co. v. Enerlite Prods.

Corp., 767 F.2d 214, 218 (5th Cir. 1985)). The court agrees with Goldmark that a

consideration of the context is appropriate. See, e.g., Scott Fetzer, 381 F.3d at 485-86

(“Therefore, in addition to the digits of confusion, the particular context in which the mark


       14
         There are several photographs in the summary judgment record indicating a price
for a month-long stay at the Amerigold Suites. See, e.g., D. App. 37. But Goldmark neither
points to this evidence as a basis for measuring the degree of care exercised by potential
purchasers, nor does it provide any evidence of the prices charged by Choice Hotels.

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appears must receive special emphasis.”). But contrary to Goldmark’s position, the context

supports the conclusion beyond peradventure that there is a likelihood of confusion.

       Goldmark contends that the typical consumer exercising ordinary caution would not

have been confused by the continued display of Choice Hotels’ marks on the Goldmark Hotel

Property because other signage, including business cards at the front desk, bore the name and

logo of Amerigold Suites, and as soon as a potential consumer walked inside the hotel, he

would have realized the difference. In support of its argument, Goldmark relies on National

Business Forms & Printing, Inc. v. Ford Motor Co., 671 F.3d 526 (5th Cir. 2012). That

reliance is misplaced. In National Business a commercial printer supplied several used-car

dealers that had no affiliation with Ford Motor Co. (“Ford”) promotional materials bearing

Ford’s logos in combination with the logos of other car brands. Id. at 530-31. The district

court entered judgment for Ford, finding the printer liable for trademark infringement on the

theory that the promotional materials used Ford’s marks in a manner likely to confuse

consumers as to whether Ford endorsed or approved of the dealerships’ sales of Ford

vehicles. Id. at 533-34. The Fifth Circuit reversed, holding that the district court clearly

erred in finding that the promotional materials were likely to cause confusion. Id. at 534.

It reasoned that because each piece of promotional material presented Ford’s marks along

with several other automakers’ logos, “[t]he grouping of several competitors extinguishes

any possible confusion, particularly where nothing in the district court’s findings or in the

record suggests that these used car dealers displayed the Ford marks elsewhere on their lots

or showroom floors.” Id. The Fifth Circuit also concluded that the typical consumer was not

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likely to “perceive that Ford endorsed or approved this diverse array of corporate logos,

particularly at dealerships operating under the names ‘Greenspoint Dodge Used Car Sales’

and ‘Tomball Dodge.’” Id.

       National Business is clearly distinguishable for several reasons, but most

fundamentally because it is a case where the plaintiff, who was not a competitor to the

defendant as to this category of products,15 alleged that the defendant reproduced trademarks

and applied them to promotional materials intended to be used in commerce by third-party

retailers (i.e., the independent dealerships). In other words, the plaintiff was attempting to

hold the defendant liable on a theory that the third-party retailers’ use of the promotional

materials was likely to cause confusion among the retailers’ customers. But because each

piece of promotional material that was sold to the retailers contained the corporate logos of

at least three other automakers (competitors to Ford), there was no basis to find that a typical

consumer would perceive that Ford intended to sponsor the promotional materials. Here, by

contrast, Choice Hotels’ theory does not rely on the sale of goods or services by a third-party

retailer. Rather, Goldmark’s Amerigold Suites was a direct competitor to Choice Hotels in


       15
          In a portion of National Business that Goldmark does not cite, the Fifth Circuit
affirmed the district court’s grant of summary judgment to Ford on a different class of
products: decals and stickers that contained only Ford’s marks and were offered for direct
sale on its website. See National Business, 671 F.3d at 533, 538; see also Nat’l Bus. Forms
& Printing, Inc. v. Ford Motor Co., 2009 WL 3570387, at *3 (S.D. Tex. Oct. 30, 2009)
(district court opinion describing category of products). For this class of products, the
commercial printer and Ford were direct competitors, which supported the district court’s
finding of a likelihood of confusion. See National Business, 671 F.3d at 533 (“[The
printer’s] products directly compete with products sold by Ford and their licensed marketers,
and competition occurs in a relatively small market of buyers[.]”).

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the hotel services industry, and each of the signs at issue bore only the marks of Choice

Hotels, not of others. Thus the salient features of the commercial relationship in National

Business do not exist here.

       Contrary to Goldmark’s contention, the overall context supports the conclusion that

Choice Hotels has demonstrated beyond peradventure that there is a likelihood of confusion.

Before the termination of the Franchise Agreement between Choice Hotels and Kroopa, the

Goldmark Hotel Property was operated as a licensed Quality Suites. After the Franchise

Agreement was terminated and Goldmark took over operations, the continued display of the

Quality Marks would likely cause confusion among consumers—especially among those

consumers who were under the mistaken impression that the Goldmark Hotel Property was

still a licensed Quality Suites. Although Goldmark was not the former franchisee, the

likelihood-of-confusion logic that courts observe in failed franchisee cases nevertheless

applies to this situation because an ordinary consumer would not have been able to perceive

a difference between Kroopa (the former franchisee) and Goldmark (the entity that

foreclosed on the Goldmark Hotel Property). Cf. TGI Friday’s Inc., 652 F.Supp.2d at 767

(“Therefore, if [former franchisees] are using the marks without [the franchisor’s] consent,

it is evident that there is a likelihood of consumer confusion between licensed . . . restaurants

and defendants’ restaurants.”); Burger King Corp. v. Mason, 710 F.2d 1480, 1492 (11th Cir.

1983) (“Common sense compels the conclusion that a strong risk of consumer confusion

arises when a terminated franchisee continues to use the former franchisor’s trademarks.”).

The typical consumer exercising ordinary caution would have observed the continued display

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of Choice Hotels’ exact marks on the Goldmark Hotel Property and would not have known

that the hotel was no longer a licensed Quality Suites or that the hotel was under different

ownership.

       The fact that Goldmark changed other signage on the Goldmark Hotel Property and

had materials inside the hotel that bore the Amerigold Suites name and logo does not change

this result. As the Eighth Circuit observed in Downtowner/Passport International Hotel

Corp. v. Norlew, Inc., 841 F.2d 214 (8th Cir. 1988):

              any dissipation of confusion due to the existence of . . . items
              [with other names or logos] does not cure the likelihood of
              confusion that initially existed upon entering the hotel. . . . [W]e
              find that a travel weary hotel patron might not notice the
              inconsistent trademarks. He or she would, thus, still assume that
              the hotel was [one of plaintiff’s hotels]. Bad experiences may
              deter the traveler from staying at [another one of plaintiff’s
              hotels] at his or her next destination. And, if a traveler did
              conclude that the hotel was not [one of plaintiff’s hotels] it is
              uncertain whether a traveler would gather up his or her luggage
              and begin a search for another hotel.

Id. at 219-20 (citations omitted). Similarly, in this case, potential customers looking for a

hotel would have observed from the road two signs bearing Choice Hotels’ exact marks.

There is a substantial likelihood that a typical consumer traveling on the road would have

seen these signs and mistakenly believed that the Goldmark Hotel Property was a licensed

Quality Suites. Even if signage and other items inside the hotel indicated that the hotel was

actually an Amerigold Suites, any dissipation of confusion would not have cured the

likelihood of confusion that initially existed upon seeing the signs and entering the Goldmark

Hotel Property.

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       “While likelihood of confusion is typically a question of fact, summary judgment is

proper if the ‘record compels the conclusion that the movant is entitled to judgment as a

matter of law.’” Xtreme Lashes, 576 F.3d at 227 (quoting Bd. of Supervisors for La. State

Univ. Agric. & Mech. Coll. v. Smack Apparel Co., 550 F.3d 465, 474 (5th Cir. 2008)). The

record does not contain any evidence that creates a genuine issue of material fact regarding

the likelihood of confusion.     Both the digits of confusion—especially the first two

factors—and the overall context support a finding that Goldmark’s continued use of the

Quality Marks created a likelihood of confusion. None of the digits of confusion clearly

favors the opposite conclusion. Choice Hotels has therefore established a likelihood of

confusion beyond peradventure.

                                             D

       Because Choice Hotels has established beyond peradventure the ownership of a

legally protectable mark and infringement of that mark, it is entitled to summary judgment

as to liability on its claim for trademark infringement under 15 U.S.C. § 1114.

                                            IV

       Choice Hotels also moves for summary judgment on its claims for false designation

of origin under 15 U.S.C. § 1125(a), common law trademark infringement under Texas law,

and common law unfair competition under Texas law, contending that facts establishing

liability for these claims are identical to those establishing liability for trademark

infringement under 15 U.S.C. § 1114. Goldmark concedes that liability for trademark

infringement under § 1114 establishes liability for Choice Hotels’ other claims.

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       The court holds that Choice Hotels is entitled to summary judgment on its claim for

false designation of origin under § 1125(a), common law trademark infringement under

Texas law, and common law unfair competition under Texas law. See Choice Hotels, 940

F.Supp.2d at 538 (“Nevertheless, the Court must only conduct one inquiry to determine the

[defendants’] liability because . . . the facts that support an action for trademark infringement

under the Lanham Act also support the other three actions); see also Philip Morris USA Inc.

v. Lee, 547 F.Supp.2d 667, 674 (W.D. Tex. 2008) (“The elements of trademark infringement

and false designation of origin are identical, and the same evidence will establish both

claims.” (citations omitted)); Dall. Cowboys Football Club, Ltd. v. Am.’s Team Props., Inc.,

616 F.Supp.2d 622, 637 (N.D. Tex. 2009) (Kinkeade, J.) (“A determination of a likelihood

of confusion under federal law is sufficient to prove trademark infringement under Texas

law.” (citing Elvis Presley, 141 F.3d at 193)); Horseshoe Bay Resort Sales Co. v. Lake

Lyndon B. Johnson Improvement Corp., 53 S.W.3d 799, 806 n.3 (Tex. App. 2001, pet.

denied) (“A trademark infringement and unfair competition action under Texas common law

presents essentially ‘no difference in issues than those under federal trademark infringement

actions.’” (quoting Zapata Corp. v. Zapata Trading Int’l, Inc., 841 S.W.2d 45, 47 (Tex. App.

1992, no writ)).

                                               V

       Choice Hotels requests that the court grant a permanent injunction enjoining

Goldmark from using any of the Quality Marks. Goldmark opposes Choice Hotels’ request

for injunctive relief, reiterating many of the same arguments it made on the merits. The only

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argument not previously addressed supra in § III is Goldmark’s contention that Choice

Hotels is not entitled to a permanent injunction because both signs have been removed from

the Goldmark Hotel Property as of the date Choice Hotels filed its motion for summary

judgment and there is no evidence that there is a threat of future injury to Choice Hotels.

       The Lanham Act vests district courts with the jurisdiction to grant an injunction

“according to the principles of equity and upon such terms as the court may deem

reasonable.” 15 U.S.C. § 1116(a). Were Choice Hotels seeking a preliminary injunction, it

would be required to establish each of the following: (1) a substantial likelihood that it will

prevail on the merits; (2) a substantial threat that it will suffer irreparable injury if the

injunction is not granted; (3) that the threatened injury to Choice Hotels outweighs the

threatened harm the injunction may do to Goldmark; and (4) that granting the preliminary

injunction will not disserve the public interest. See, e.g., Jones v. Bush, 122 F.Supp.2d 713,

718 (N.D. Tex. 2000) (Fitzwater, J.), aff’d, 244 F.3d 134 (5th Cir. 2000) (per curiam)

(unpublished table decision). “Where a plaintiff seeks permanent injunctive relief, the test

is the same, except that ‘the movant must show actual success on the merits of the claim,

rather than a mere likelihood of such success.’” Caroline T. v. Hudson Sch. Dist., 915 F.2d

752, 755 (1st Cir.1990) (quoting K-Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st

Cir.1989)). “[T]he decision whether to grant or deny injunctive relief rests within the

equitable discretion of the district courts, and . . . such discretion must be exercised consistent

with traditional principles of equity.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 394

(2006).

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       The court holds that Choice Hotels has not established beyond peradventure that it is

entitled to a permanent injunction. The first factor (actual success on the merits) is satisfied,

but there are disputed issues of material fact that preclude summary judgment as to the

remaining factors. Although there is evidence in the record suggesting that Choice Hotels

ultimately may be entitled to a permanent injunction, the beyond peradventure burden is

heavy, and Choice Hotels has not met this burden as to its request for such an extraordinary

remedy. See, e.g., DSC Commc’ns Corp. v. Next Level Commc’ns, 107 F.3d 322, 328 (5th

Cir. 1997) (noting that “it is clear injunctions are an extraordinary remedy, to be granted only

when a party is threatened with injury for which he cannot obtain a sufficient legal remedy”).

Moreover, Goldmark has adduced evidence that would permit a reasonable trier of fact to

find that Goldmark was slow to remove the signs in question only because it considered the

cost of doing so to be prohibitive, not because it intended to trade on Choice Hotels’

trademarks. Goldmark was not the former franchisee; it was a beneficiary of a deed of trust

under which the Goldmark Hotel Property was foreclosed on. So this is not, for example,

a case in which a former franchisee intentionally traded on the franchisor’s trademarks after

their franchise agreement was terminated. See, e.g., TGI Friday’s Inc., 652 F.Supp.2d at

766-67 (“Defendants concede that they did not cease using [plaintiff’s] marks on receipt of

the termination letters, and that they continue to use the marks and hold their restaurants out

as [licensed locations of the plaintiff].”). There is also evidence that, by the time Choice

Hotels filed this summary judgment motion, Goldmark had painted over, covered up, or

otherwise removed the signs in question and that no signs bearing Quality Marks are

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currently visible on the Goldmark Hotel Property. And there is evidence that Goldmark

removed other signage and paraphernalia with Choice Hotels’ marks before Choice Hotels

filed this lawsuit; that Goldmark uses its own online reservation system; and that Goldmark

holds itself out to potential customers as an Amerigold Suites, not a Quality Suites. Choice

Hotels has therefore failed to establish under the heavy beyond peradventure that it is

threatened with irreparable injury. Accordingly, Choice Hotels’ motion for summary

judgment is denied to the extent it seeks a permanent injunction.16

                                              VI

       In addition to its request for injunctive relief, Choice Hotels moves for summary

judgment on monetary damages. Choice Hotels requests damages in the form of (1)

Goldmark’s profits during the period of infringement, (2) actual damages as measured by a

reasonable royalty, and (3) a trebling of damages.

                                               A

       The Lanham Act provides, in pertinent part, that subject to the principles of equity,

a plaintiff shall be entitled

               to recover (1) defendant’s profits, (2) any damages sustained by
               the plaintiff, and (3) the costs of the action. . . . In assessing
               profits the plaintiff shall be required to prove defendant’s sales
               only; defendant must prove all elements of cost or deduction
               claimed. In assessing damages the court may enter judgment,


       16
         Choice Hotels also requests injunctive relief in the form of (1) an order requiring
Goldmark to deliver to Choice Hotels any item in its possession, custody, or control bearing
any of the Quality Marks, and (2) an order requiring Goldmark to file a sworn statement of
compliance. These requests are also denied at the summary judgment stage.

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              according to the circumstances of the case, for any sum above
              the amount found as actual damages, not exceeding three times
              such amount. If the court shall find that the amount of the
              recovery based on profits is either inadequate or excessive the
              court may in its discretion enter judgment for such sum as the
              court shall find to be just, according to the circumstances of the
              case. Such sum in either of the above circumstances shall
              constitute compensation and not a penalty.

15 U.S.C. § 1117(a). “Though the district court has discretion in determining an equitable

damages award, genuine disputes concerning material facts, such as the actual amount of

damages or the willfulness of infringement, may still preclude a summary judgment award

of damages.” Choice Hotels, 940 F.Supp.2d at 543-44.

                                               B

       The first form of monetary damages Choice Hotels seeks is Goldmark’s profits during

the period of infringement. “An award of the defendant’s profits is not automatic.” Seatrax,

Inc. v. Sonbeck Int’l, Inc., 200 F.3d 358, 369 (5th Cir. 2000). The Fifth Circuit has

“identified a non-exhaustive list of factors to determine when a plaintiff is entitled to an

accounting of the defendant’s profits under § 1117(a): (1) whether the defendant intended

to confuse or deceive; (2) whether sales have been diverted; (3) the adequacy of other

remedies; (4) any unreasonable delay by the plaintiff in asserting [its] rights; (5) the public

interest in making the conduct unprofitable; and (6) whether it is a case of palming off.” Id.

(paragraph breaks omitted). “If the court determines that an accounting of profits is

appropriate, the plaintiff is entitled to only those profits attributable to the unlawful use of

its trademark.” Id.


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       The court holds that Choice Hotels has failed to establish beyond peradventure that

it is entitled to Goldmark’s profits.17 Choice Hotels presents a profit and loss accounting

statement from Goldmark as a basis for determining Goldmark’s profits during the relevant

period.18 See P. Br. 19-20; P. App. 220-221. But it subsequently attacks the accuracy of the

statement with other evidence, contending that other documents show that Goldmark

reported higher net profits during the same period. See P. Br. 20; P. App. 223-27. Choice

Hotels disputes some of the deductions listed on the profit and loss statement—disputes that

raise genuine issues of material fact as to the amount of Goldmark’s profits during the

relevant period. Moreover, Choice Hotels does not address until its reply brief the six factors

for determining whether a plaintiff is entitled to an accounting of defendant’s profits.

Genuine issues of material fact as to some of these factors remain to be tried. See Choice

Hotels, 940 F.Supp.2d at 546 (denying summary judgment as to profits). Summary judgment

is therefore inappropriate as to Choice Hotels’ request for Goldmark’s profits.




       17
        In its reply, Choice Hotels requests leave to supplement this motion with additional
evidence regarding Goldmark’s profits. Because Choice Hotels will have the opportunity
to provide additional evidence at trial, the court denies this request.
       18
         The precise end date for the relevant period is not clear from the summary judgment
briefing and record. For example, Choice Hotels states in its reply that Goldmark “left the
‘towering sign’ with the Quality Suites® name uncovered and displayed in front of its hotel
through at least April 2012.” P. Reply 6 (emphasis added). The precise termination date of
the relevant period is potentially relevant to the amount of damages owed by Goldmark.

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                                               C

       The second form of monetary damages Choice Hotels requests is actual damages as

measured by a reasonable royalty. Relying on Boston Professional Hockey Ass’n, 597 F.2d

71, and related cases, Choice Hotels argues that it is entitled to royalties based on the royalty

formula that was in effect under the Franchise Agreement between Choice Hotels and

Kroopa. Under this formula, Choice Hotels was to receive 8.5% of Kroopa’s gross room

revenue. Goldmark responds that Choice Hotels’ damages theory is not legally viable

because there was never any prior licensing relationship between it and Choice Hotels, so the

reasonable royalties method of calculating actual damages is inapposite. It does not respond

to Choice Hotels’ damages estimate as a factual matter.

       The court holds that Choice Hotels’ damages theory is legally viable but that Choice

Hotels has not established beyond peradventure the amount of actual damages. Goldmark

has not cited any authority holding that a prior licensing agreement between the parties is a

prerequisite to using a reasonable royalty to measure damages for trademark infringement.

In fact, in Boston Professional Hockey Ass’n there was never any licensing arrangement

between the parties because the defendant’s attempts to secure a licensing agreement had

failed. See Bos. Prof’l Hockey Ass’n, 597 F.2d at 74. The Fifth Circuit nevertheless held that

the plaintiff’s damages should have been determined by the royalty formula that had been

offered during the licensing negotiations. Id. at 76 (“Based upon a $15,000 offer for a

three-year contract, [the defendant’s] four-year infringement of the right to manufacture and

sell three-inch emblems damaged plaintiffs in the amount of $20,000.”). Accordingly,

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Boston Professional Hockey Ass’n suggests that a prior licensing arrangement is not a

prerequisite to using a reasonable royalty method to calculate damages. And in other cases,

the Fifth Circuit has approved of using this method. See Brennan’s Inc. v. Dickie Brennan

& Co., 376 F.3d 356, 371 (5th Cir. 2004) (“The amount that a party hypothetically would

have agreed to pay as a reasonable royalty for use of the mark is sometimes used as a

measure of damages in trademark actions, especially those involving licensing

relationships.”); see also Taco Cabana Int’l, Inc. v. Two Pesos, Inc., 932 F.2d 1113, 1126

(5th Cir. 1991) (affirming damages award based on initial franchise fee of $10,000 per store

and continuing royalty of 1% in trade dress infringement case under Lanham Act). This

method can make economic sense, assuming the royalty formula bears a rational relationship

to the rights appropriated by the infringer,19 because an estimated royalty can serve as a

proxy for the value that Choice Hotels would have received had Goldmark been licensed to

use its marks. See Restatement (Third) of the Law of Unfair Competition § 36, cmt. d (1995)

(“The former royalty rate may then be one of several reasonable measures of the plaintiff’s

loss.”).



       19
          The court expresses no view as to whether the royalty formula proposed by Choice
Hotels bears a rational relationship to the rights appropriated by Goldmark. Some courts
have noted that the use of a royalty formula derived from a prior licensing arrangement
provides a windfall to the plaintiff where the defendant did not receive all of the benefits
associated with the licensing arrangement. See, e.g., Bandag, Inc. v. Al Bolser’s Tire Stores,
Inc., 750 F.2d 903, 920 (Fed. Cir. 1984); see also Restatement (Third) of the Law of Unfair
Competition § 36, cmt. d (1995) (noting that “in some cases the royalty measure may also
fail to account for the absence of other benefits and burdens present in an actual licensing
relationship”).

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       Although its damages theory is legally viable, Choice Hotels has not established

beyond peradventure the amount of its actual damages. It cites the Franchise Agreement

between it and Kroopa and argues that a royalty rate of 8.5% of Goldmark’s gross room

revenue is an appropriate damages estimate. Goldmark does not dispute this damages

estimate as a factual matter, but its failure to respond does not permit the court to enter a

“default” summary judgment on this issue. Even though the evidence is undisputed, Choice

Hotels has not established beyond peradventure that the royalty formula is appropriate as

applied to these facts. The Franchise Agreement includes a “royalty fee” of 4.65% of the

hotel’s gross room revenue and a “system fee” of 3.85% of the hotel’s gross room revenue

“for the ongoing development, maintenance and upgrading of the Property Management

System and Reservation System, and for advertising, publicity, public relations, marketing,

reservations and other similar services that [Choice Hotels] will provide [the licensee].” P.

App. 52. It is not clear on the basis of the summary judgment briefing and record whether

the “system fee” should be included as part of the royalty rate because it is undisputed that

Goldmark did not use Choice Hotels’ online reservation system for the Goldmark Hotel

Property. It is also unclear whether Goldmark availed itself of the other benefits mentioned

in the monthly fees clause, suggesting that the formula may provide a windfall to Choice

Hotels. Accordingly, Choice Hotels has not established beyond peradventure that applying

the full 8.5% royalty rate bears a rational relationship to the rights appropriated by




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Goldmark.20 Summary judgment is therefore unwarranted as to Choice Hotels’ request for

actual damages.

                                                D

       Choice Hotels also requests treble damages. Goldmark responds that trebling of

damages is not appropriate under the facts and circumstances of this case. Because the court

has concluded that Choice Hotels is not entitled to summary judgment as to damages, there

is no predicate for Choice Hotels’ request for trebling. Accordingly, the court denies this

request as premature.

                                               VII

       Finally, Choice Hotels requests leave to provide supplemental documentation

regarding its costs and to move for attorney’s fees. The Lanham Act provides that, subject

to principles of equity, the plaintiff shall be entitled to recover “the costs of the action,” and,

“in exceptional cases,” the court may award “reasonable attorney fees.”                15 U.S.C.

§ 1117(a)(3). Because Choice Hotels is not entitled to summary judgment as to remedies,

its remedies claims remain for trial. Choice Hotels will have the opportunity—for example,

in the context of an attorney’s fees application filed under Rule 54(d)(2)—to apply for

attorney’s fees and nontaxable costs. The court therefore denies Choice Hotels’ request for



       20
         The full 8.5% royalty rate may in fact bear a rational relationship to the rights
appropriated by Goldmark. The court expresses no view on the ultimate merits of this
particular damages estimate other than to say that the summary judgment briefing and record
do not establish beyond peradventure that Choice Hotels is entitled to the damages award that
it proposes.

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leave as premature. The court expresses no view about whether this case is “exceptional”

within the meaning of § 1117(a)(3).

                                       *     *      *

      For the reasons explained, the court grants Choice Hotels’ motion for summary

judgment as to liability on its claims for trademark infringement under 15 U.S.C. § 1114,

false designation of origin under 15 U.S.C. § 1125(a), common law trademark infringement

under Texas law, and common law unfair competition under Texas law, but denies the

motion as to remedies.

      SO ORDERED.

      February 19, 2014.



                                           _________________________________
                                           SIDNEY A. FITZWATER
                                           CHIEF JUDGE




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